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7
8
                                 UNITED STATES DISTRICT COURT
9
                                EASTERN DISTRICT OF CALIFORNIA
10
11   Gina McKeen-Chaplin, individually, on          Case No. 2:12-cv-03035-GEB-AC
     behalf of others similarly situated, and on
12   behalf of the general public,
                                                    NOTICE OF MOTION AND
13                                 Plaintiff,       MOTION TO COMPEL
                                                    DISCOVERY RESPONSES,
14           vs.                                    PRODUCTION OF DOCUMENTS
                                                    AND DEPOSITIONS
15   Provident Savings Bank, FSB, and DOES 1-
     50, inclusive,
16                                                  Date:   January 14, 2015
                                   Defendants.      Time:   10:00 a.m.
17                                                  Ctrm:   26
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     074664.00204/95241482v.1
                    NOTICE OF MOTION AND MOTION TO COMPEL DISCOVERY RESPONSES
                                         AND DEPOSITIONS
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1    TO PLAINTIFF AND ALL FLSA OPT-IN PLAINTIFFS (“PLAINTIFFS”) AND
2    THEIR COUNSEL OF RECORD:
3            PLEASE TAKE NOTICE that on January 14, 2015, or as soon thereafter as
4    may be heard, Defendant Provident Savings Bank, FSB (“Defendant”) will and hereby
5    does move this Court for an order compelling Plaintiffs to provide discovery
6    responses, produce documents in response to Defendant’s discovery requests and
7    appear for depositions.
8            Pursuant to Local Rule 251, the parties conferred on December 8, 2014 and
9    thereafter regarding the discovery disputes that are the subject of this motion. The
10   parties are continuing their attempts to resolve these disputes, and are preparing a
11   Joint Statement regarding any issues that cannot be resolved.
12
13   DATED: December 24, 2014           BLANK ROME LLP
14
15
                                        By:/s/ Michael L. Ludwig
16                                          MICHAEL L. LUDWIG
                                        Attorneys for Defendant Provident Savings
17                                       Bank, FSB
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28   074664.00204/95241482v.1                    1
                    NOTICE OF MOTION AND MOTION TO COMPEL DISCOVERY RESPONSES
                                         AND DEPOSITIONS
